Case 1:16-cv-21874-KMM Document 5 Entered on FLSD Docket 05/26/2016 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 16-21874-CIV-MOORE/MCALILEY


 CUTHBERT HAREWOOD

        Plaintiff,

 v.

 MIAMI-DADE COUNTY, a political
 Subdivision of the State of Florida and JOHN
 ALEXANDER, a resident of the State of
 Florida,

        Defendants.


         DEFENDANT MIAMI-DADE COUNTY’S UNOPPOSED MOTION FOR
      EXTENSION OF TIME TO RESPOND TO SECOND AMENDED COMPLAINT

        Defendant Miami-Dade County, pursuant to Rule 6 of the Federal Rules of Civil

 Procedure and Rule 7.1(a)(1)(J) of the Local Rules for the Southern District of Florida, requests

 an extension of time to respond to the Second Amended Complaint for the reasons stated below.

      1.      The present case originated in the Circuit Court of the Eleventh Judicial Circuit in

 and for Miami-Dade County and involved state law claims for excessive force/battery and false

 arrest against the County only.

      2.      On May 19, 2016, Plaintiff Cuthbert Harewood filed a Second Amended Complaint

 [ECF No. 4-1] purporting to state a variety of federal claims against the County and John

 Alexander, an employee of the Miami-Dade County Police Department.

      3.      The County was served with the Second Amended Complaint on May 19, 2016 via

 the Florida Courts E-Filing Portal.




                         OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY, FLORIDA
                                         TELEPHONE 305.375.5151
Case 1:16-cv-21874-KMM Document 5 Entered on FLSD Docket 05/26/2016 Page 2 of 4

                                                      CASE NO.: 16-21874-MOORE/MCALILEY


      4.      On May 24, 2016, the County filed a Notice of Removal [ECF No. 1] removing the

 present action to the United States District Court for the Southern District of Florida.

      5.      As such, the County’s response to the Complaint is currently due on May 31, 2016,

 pursuant to Fed. R. Civ. P. 81(c)(2)(C).

      6.      Ultimately, the undersigned may represent all of the defendants herein.          This,

 however, cannot be determined until the individual defendant is properly served and he has the

 opportunity to seek representation and meet with counsel.

      7.      In the interest of judicial economy, instead of filing multiple responses to the

 Complaint at different times, the County requests that all responses to the Second Amended

 Complaint be filed simultaneously.

      8.      The County asks the Court to extend the time to file responses for all defendants

 until twenty-one (21) days after the last named defendant is properly served.

      9.      This motion is made in good faith and not for purposes of delay. The requested

 extension of time will not prejudice the parties nor unduly delay the proceedings in this matter.

 In fact, the simultaneous filing of all responses to the Complaint will prevent piecemeal litigation

 and may facilitate the Court in resolving or disposing of many of the claims at one time.

      10.     In accordance with the requirements of Local Rule 7.1(a)(3), undersigned has

 conferred with Plaintiff’s counsel regarding this motion.        Plaintiff’s counsel agreed to the

 requested extension of time.      In compliance with Local Rule 7.1(a)(2), a proposed Order

 accompanies this motion.

        WHEREFORE, Defendant Miami-Dade County respectfully requests that the Court enter

 the attached Order extending the time to respond to the Complaint in accordance with the relief

 requested above.

                                                Page 2
                     OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY, FLORIDA
                                      TELEPHONE 305.375.5151
Case 1:16-cv-21874-KMM Document 5 Entered on FLSD Docket 05/26/2016 Page 3 of 4

                                                      CASE NO.: 16-21874-MOORE/MCALILEY


 Dated: May 26, 2016.

                                                   Respectfully submitted,

                                                   ABIGAIL PRICE-WILLIAMS
                                                   Miami-Dade County Attorney
                                                   Stephen P. Clark Center
                                                   111 N.W. 1st Street, Suite 2810
                                                   Miami, Florida 33128

                                                   By: s/ Jennifer L. Hochstadt
                                                     Jennifer L. Hochstadt
                                                     Assistant County Attorney
                                                     Florida Bar No. 56035
                                                     Telephone: (305) 375-5151
                                                     Facsimile: (305) 375-5611
                                                     E-mail: hochsta@miamidade.gov



                      CERTIFICATE OF GOOD FAITH CONFERENCE

        In accordance with the requirements of Local Rule 7.1(a)(3), undersigned has conferred

 with Plaintiff’s counsel regarding this motion.        Plaintiff’s counsel agreed to the requested

 extension of time.

                                                               /s/ Jennifer L. Hochstadt
                                                               Jennifer L. Hochstadt
                                                               Assistant County Attorney


                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 26, 2016, I electronically filed the foregoing document with

 the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

 this day on all counsel of record identified on the attached Service List in the manner specified.

                                                               /s/ Jennifer L. Hochstadt
                                                               Jennifer L. Hochstadt
                                                               Assistant County Attorney


                                               Page 3
                      OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY, FLORIDA
                                       TELEPHONE 305.375.5151
Case 1:16-cv-21874-KMM Document 5 Entered on FLSD Docket 05/26/2016 Page 4 of 4

                                                CASE NO.: 16-21874-MOORE/MCALILEY


                                       SERVICE LIST

 Hilton Napoleon, II, Esq.
 RASCO KLOCK PEREZ NIETO
 2555 Ponce de Leon Blvd., Suite 600
 Coral Gables, Florida 33134
 Email: hnapoleon@rascoklock.com
 Served via CM/ECF




                                          Page 4
                   OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY, FLORIDA
                                    TELEPHONE 305.375.5151
